     CASE 0:17-cr-00107-DWF-TNL Document 925 Filed 11/01/18 Page 1 of 3



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                               Criminal No. 17-107 (DWF/TNL)

                     Plaintiff,

v.                                                                                ORDER

Michael Morris, a/k/a Bill (1),

Pawinee Unpradit, a/k/a Fon,
a/k/a Jamjit Unpradit,
a/k/a Pawinee Kiertivadthananod (4),

Saowapha Thinram, a/k/a Nancy,
a/k/a Kung (5),

Thoucharin Ruttanamongkongul,
a/k/a Ann, a/k/a Noiy (16), and

Waralee Wanless, a/k/a Wan,
a/k/a Warlee Duarte,
a/k/a Warlee Alcaraz (20),

                     Defendants.


       The Court conducted a pretrial on October 26, 2018, at which time it ruled off the

bench on a number of issues relating to jury selection, as well as a number of motions in

limine. At that time, the Court took under advisement specific requests from defense

counsel with respect to voir dire questions as well as defense counsels’ motion for a jury

questionnaire.
     CASE 0:17-cr-00107-DWF-TNL Document 925 Filed 11/01/18 Page 2 of 3



       Based upon the presentations of counsel, the Court having reviewed all

submissions of counsel, and the Court being otherwise duly advised in the premises, the

Court hereby enters the following:

                                           ORDER

       1.     Jury Questionnaire. The Court respectfully DENIES defense counsels’

Motion for Use of a Jury Questionnaire, (Doc. No. [919]), to be distributed on

November 5, 2018. This decision of the Court is based upon the Court’s willingness to

ask a number of questions during voir dire and to permit counsel to ask a number of

questions. The Court concludes that a jury questionnaire is not necessary to select a fair

and impartial jury in fairness to all parties before the Court.

       2.     With respect to the request of defense counsel for the Court to ask proposed

specific individual questions, the Court, in addition to the voir dire that it has supplied

counsel during the pretrial on October 26, 2018, will ask the following question, which

will follow question 14.m. on page 22. “Have you, a close friend, or any member of your

family ever been subjected to violence of a sexual nature?”

       To the extent any counsel continues to have an inquiry about the propriety of any

question or questions that they may ask a potential juror, each counsel will have an




                                               2
     CASE 0:17-cr-00107-DWF-TNL Document 925 Filed 11/01/18 Page 3 of 3



opportunity to consult the Court prior to the beginning of jury selection on November 5,

2018.

Dated: November 1, 2018           s/Donovan W. Frank
                                  DONOVAN W. FRANK
                                  United States District Judge




                                            3
